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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO


Civil Action No. 21-cv-01687-CNS-MDB

JOSE ARROYO,
HEATHER BOEHM,
SAMUEL CORDO,
AMBER MILLER,

        Plaintiffs,

v.

ALEXANDER HALL,
TIMOTHY HOLCOMB,
DEREK MYERS,
JOSHUA MOORE,
ANDREW PRIVETT,
DUSTIN ROSS,
CHAD WEISE,

        Defendants.


                      NOTICE OF APPOINTMENT OF PRO BONO COUNSEL



        AS DIRECTED by U.S. District Court Magistrate Judge Maritza Dominguez Braswell’s

October 23, 2024 Order Granting Appointment of Pro Bono Counsel as to Defendant Andrew

Privett, and in accordance with D.C.COLO.LAttyR 15(f) of the U.S. District Court's Local Rules

of Practice, the undersigned designated clerk has selected pro bono counsel.

        THE CLERK hereby notifies the court and the parties that attorneys Perry L. Glantz and

Alex James Gunning of Stinson LLP have been selected. Selected counsel and their staff have

preliminarily reviewed this case to determine if a conflict exists or other impediment to

accepting this case; as it appears there is no such conflict at this time, they have informed the




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court of their availability. Under D.C.COLO.LAttyR 15(g), appointed counsel has thirty days to

either enter their appearance in the case or file a Notice Declining Appointment. The Clerk

cautions Defendant Privett that in the interim, they are responsible for all other scheduled

matters by court order or operation of the federal courts’ rules of procedure, including

appearances at hearings or depositions, and submitting responses to motions, discovery

requests, etc.

       ACCORDINGLY, the Clerk hereby enters this Notice of Appointment in this case, and

will also send a copy of this Notice, the Appointment Order, and a copy of local rule

D.C.COLO.LAttyR 15 - Civil Pro Bono Representation to the pro se litigant. A copy of this

Notice will also be sent to appointed counsel by the undersigned designated clerk.



       Dated at Denver, Colorado this    2nd   day of December, 2024.



                                          FOR THE COURT:

                                          JEFFREY P. COLWELL, CLERK



                                          By: s/A. Dubois
                                          A. Dubois
                                          Civil Pro Bono Panel Administrator / Deputy Clerk




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